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AO 2458 (CASDRev. 08/13) Judgment in a Criminal Case


                                       UNITED STATES DISTRICT COUR"                                                .... JUN - 3 2016
                                                                                                               CLEf?..:., l. '   -",-"   __   -:-.

                                            SOUTHERN DISTRICT OF CALIFORNIA                                ~$UTHEf?N D~ ::E~~~NIA
                                                                                                                                  ;~          DEPUTY I
              UNITED STATES OF AMERICA                                 JUDGMENT IN A CRIMINAL CASE
                                  v.                                    (For Offenses Committed On or After November 1, 1987)
                     LUIS FRANCO JR. (8)
                                                                           Case Number:         15CR I299-GPC

                                                                        ROBERT CARRIEDO
                                                                        Defendant's Attorney
REGISTRATION NO.                  72574097
D ­
THE DEFENDANT:
 IZI pleaded guilty to count(s)          2 of the Indictment.

D was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is a4iudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                   Count
Title & Section                        Nature of Offense                                                                          Number(s)
21 :84 I (a)(1 ), 18:2                 Possession with intent to distribute heroin.                                                  2




    The defendant is sentenced as provided in pages 2 through                     4            of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
 D The defendant has been found not guilty on count(s)
 IZI Count(s)      Remaining                                      is          dismissed on the motion of the United States.
                 ------~--------------------
 IZI Assessment: $100.00.


 IZI Fine waived               D Forfeiture pursuant to order filed                                                      , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.

                                                                        June 3. 2016




                                                                                                                                 15CR1299-GPC
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AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:                 LUIS FRANCO JR. (8)                                                    Judgment - Page 2 of 4
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                                                 IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 78 months. Court Orders defendant credit for time served while defendant was in state custody from October 30,2014 to
 June 15,2015, a total of 231 days, in addition to the 355 days he has served in federal custody since June 15,2015.




 D     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 ~     The court makes the following recommendations to the Bureau of Prisons:
       Designation to the Western Region of the United States, Southern California area and participate in the
       Residential Drug Abuse Program (RDAP).




 D     The defendant is remanded to the custody of the United States Marshal.

 D     The defendant shall surrender to the United States Marshal for this district:
        D    at
                  ------------------ A.M.                     on
                                                                   --------------------------------------
        D    as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 D
       Prisons:
        D    on or before
        D    as notified by the United States Marshal.
        D    as notified by the Probation or Pretrial Services Office.

                                                       RETURN
 I have executed this judgment as follows:

                                 --------------------------- to --------------------------------
        Defendant delivered on


 at                                       , with a certified copy of this judgment.
      ------------------------


                                                                   UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL



                                                                                                      15CR1299-GPC
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     DEFENDANT:                   LUIS FRANCO JR. (8)                                                                          Judgment - Page 3 of 4
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                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
3 years.


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
           The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
[J
           substance abuse. (Check, if applicable.)
           The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
           The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
           Backlog Elimination Act of2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
           The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.c. § 16901, et
o          seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
           resides, works, is a student, or was convicted of a qualifYing offense. (Check if applicable.)
o          The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

           If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
      such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
      Payments set forth in this judgment.
           The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
       with any special conditions imposed.
                                         ST ANDARD CONDITIONS OF SUPERVISION
      I)  the defendant shall not leave the judicial district without the permission of the court or probation officer;
      2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
      3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
      4)  the defendant shall support his or her dependents and meet other family responsibilities;
      5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
          reasons;
      6) the defendant shall notifY the probation officer at least ten days prior to any change in residence or employment;
      7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
          any paraphernalia related to any controlled substances, except as prescribed by a physician;
      8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
      9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
          unless granted permission to do so by the probation officer;
      10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shaH permit confiscation of any contraband
          observed in plain view ofthe probation officer;
      II) the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
      12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
          the court; and
      13) as directed by the probation officer, the defendant shaH notifY third parties of risks that may be occasioned by the defendant's criminal record or
          personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance
          with such notification requirement.



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DEFENDANT:              LUIS FRANCO JR. (8)                                                    Judgment - Page 4 of 4
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                                 SPECIAL CONDITIONS OF SUPERVISION

     1. Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation
        Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband
        or evidence of a violation of a condition of release; failure to submit to a search may be grounds for
        revocation; the defendant shall warn any other residents that the premises may be subject to searches
        pursuant to this condition.

     2. Report vehicles owned or operated, or in which you have an interest, to the probation officer.

     3. Participate in a program of drug or alcohol abuse treatment, including drug testing and counseling, as
        directed by the probation officer. Allow for reciprocal release of information between the probation officer
        and the treatment provider. May be required to contribute to the costs of services rendered in an amount
        to be determined by the probation officer, based on ability to pay.


     4. Resolve all outstanding warrants within 60 days.

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